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                                   5                                  UNITED STATES DISTRICT COURT

                                   6                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   8     DAVID A. STEBBINS,                                 Case No. 22-cv-04082-AGT
                                                        Plaintiff,
                                   9
                                                                                            ORDER GRANTING IFP
                                                 v.                                         APPLICATION AND DIRECTING
                                  10
                                                                                            ISSUANCE OF SUBPOENA
                                  11     JOHN DOE d/b/a CMDR IMPERIALSALT,
                                         et al.,                                            Re: Dkt. Nos. 2, 5
                                  12                    Defendants.
Northern District of California
 United States District Court




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                                  14          David Stebbins has applied to proceed in forma pauperis. Dkt. 2. Having reviewed his
                                  15   application, the Court finds that Stebbins “cannot pay the court costs and still afford the
                                  16   necessities of life.” Escobedo v. Applebees, 787 F.3d 1226, 1234 (9th Cir. 2015). For this reason,
                                  17   his application is granted. The Court would benefit from adversarial briefing on Stebbins’s claims
                                  18   and so will not dismiss his complaint under the IFP statute’s screening provision, 28 U.S.C.
                                  19   § 1915(e)(2)(B). This is without prejudice to any arguments that the Doe defendants—whose true
                                  20   names and addresses are currently unknown to Stebbins—may raise after being served, assuming
                                  21   that service can be accomplished in the first instance.
                                  22          Because Stebbins is proceeding IFP, he is responsible for providing the Court with “the
                                  23   information necessary to identify the defendant[s]” so that service can be accomplished. Walker v.
                                  24   Sumner, 14 F.3d 1415, 1422 (9th Cir. 1994), overruled on other grounds by Sandin v. Conner, 515
                                  25   U.S. 472, 483–84 (1995). To that end, Stebbins has submitted a proposed subpoena to Youtube,
                                  26   LLC, which seeks information identifying the alleged infringer Doe defendants pursuant to
                                  27   17 U.S.C. § 512(h). See Dkt. 5. The Clerk’s Office is directed to issue the proposed subpoena
                                  28   filed at Dkt. 5-2, and the U.S. Marshal or the Clerk’s Office shall serve the subpoena on Youtube.
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                                   1          Stebbins must provide the Court with the true names and current addresses of the Doe

                                   2   defendants, or a written update detailing his efforts to obtain that information, by December 19,

                                   3   2022. If he fails to do so, the undersigned will recommend that a district judge dismiss this case

                                   4   without prejudice.

                                   5          IT IS SO ORDERED.

                                   6   Dated: November 11, 2022

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                                                                                                    ALEX G. TSE
                                   9                                                                United States Magistrate Judge
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Northern District of California
 United States District Court




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